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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

    UNITED STATES OF AMERICA

    v.                                  Case No.: 8:13-cr-78-VMC-TGW

    JUAN DAVID MORENO BONILLA

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                                    ORDER

          This cause comes before the Court pursuant to Defendant

    Juan David Moreno Bonilla’s pro se Motion for Compassionate

    Release (Doc. # 233), filed on September 27, 2021. The United

    States of America responded on October 26, 2021. (Doc. # 238).

    For the reasons set forth below, the Motion is denied.

    I.    Background

          In September 2015, this Court sentenced Moreno Bonilla

    to 188 months’ imprisonment after he pled guilty to conspiracy

    to possess with intent to distribute five kilograms or more

    of cocaine while on board a vessel subject to the jurisdiction

    of the United States. (Doc. # 176). Moreno Bonilla is 43 years

    old and his projected release date is August 17, 2027. 1

          In   the   Motion,   Moreno       Bonilla   seeks   compassionate

    release from prison under 18 U.S.C. § 3582(c)(1)(A), as


    1 This information was obtained using the Bureau of Prisons’
    online inmate locator. See https://www.bop.gov/inmateloc/.


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    amended by the First Step Act, and argues that his sentence

    is unfair and excessive, and he would have received a lesser

    sentence had he been sentenced today. (Doc. # 233 at 5).

    Moreno Bonilla also raises an argument under the First Step

    Act. (Id.). Prior to filing the instant Motion, Moreno Bonilla

    made a request for compassionate release to the Bureau of

    Prisons (“BOP”) on September 1, 2021. (Doc. # 233-2). His

    request was denied on September 7, 2021. (Id.).          The United

    States has responded to Moreno Bonilla’s Motion (Doc. # 238),

    and the Motion is now ripe for review.

    II.   Discussion

          A.   Motion for Compassionate Release

          The United States argues that Moreno-Bonilla has failed

    to identify “extraordinary and compelling circumstances” that

    would justify granting the instant Motion (Doc. # 238 at 2-

    3).   The Court agrees.

          A term of imprisonment may be modified only in limited

    circumstances. 18 U.S.C. § 3582(c). In the Motion, Moreno

    Bonilla argues that his sentence may be reduced under Section

    3582(c)(1)(A)(i), which states:

          the court, upon motion of the Director of the Bureau
          of Prisons [(BOP)], or upon motion of the defendant
          after the defendant has fully exhausted all
          administrative rights to appeal a failure of the
          Bureau of Prisons to bring a motion on the


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          defendant’s behalf or the lapse of 30 days from the
          receipt of such a request by the warden of the
          defendant’s facility, whichever is earlier, may
          reduce the term of imprisonment . . . after
          considering the factors set forth in section
          3553(a) to the extent they are applicable, if it
          finds that [ ] extraordinary and compelling reasons
          warrant such a reduction . . . and that such a
          reduction is consistent with the applicable policy
          statements issued by the Sentencing Commission.

    18 U.S.C. § 3582(c)(1)(A)(i). “The First Step Act of 2018

    expands the criteria for compassionate release and gives

    defendants the opportunity to appeal the [BOP’s] denial of

    compassionate release.”        United States v. Estrada Elias, No.

    6:06-096-DCR, 2019 WL 2193856, at *2 (E.D. Ky. May 21, 2019)

    (citation    omitted).    “However,    it    does   not    alter   the

    requirement that prisoners must first exhaust administrative

    remedies before seeking judicial relief.” Id.

          Here, the United States appears to concede that Moreno

    Bonilla exhausted his administrative remedies. (Doc. # 238 at

    2-3).     However, even if Moreno Bonilla has exhausted his

    administrative remedies, the Motion is denied because he has

    not demonstrated or even identified any circumstances that

    are     extraordinary    and    compelling    so    as    to   warrant

    compassionate release.

          The Sentencing Commission has set forth the following

    exhaustive qualifying “extraordinary and compelling reasons”



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    for   compassionate      release:      (1)   terminal       illness;   (2)   a

    serious medical condition that substantially diminishes the

    ability of the defendant to provide self-care in prison; or

    (3) the death of the caregiver of the defendant’s minor

    children. USSG § 1B1.13, comment. (n.1); see also United

    States v. Bryant, 996 F.3d 1243, 1248 (11th Cir. 2021) (“In

    short, 1B1.13 is an applicable policy statement for all

    Section 3582(c)(1)(A) motions, and Application Note 1(D) does

    not grant discretion to courts to develop ‘other reasons’

    that might justify a reduction in a defendant’s sentence.”).

    Moreno    Bonilla      bears   the     burden    of    establishing      that

    compassionate release is warranted. See United States v.

    Heromin, No. 8:11-cr-550-VMC-SPF, 2019 WL 2411311, at *2

    (M.D.    Fla.   June   7,   2019)    (“Heromin      bears     the   burden   of

    establishing that compassionate release is warranted.”).

          Moreno Bonilla cites no reasons or circumstances that

    this Court may consider as extraordinary or compelling.                      He

    states only that his sentence is “unfair and excessive for a

    non-violent offense.” (Doc. # 233 at 5). Because his claim of

    an excessive sentence is not one of the considerations this

    Court may use to warrant a compassionate release, Moreno

    Bonilla    is   not    eligible      for   relief     under    18   U.S.C.    §

    3582(c)(1)(A)(i).


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          B.     Request for Relief under Amendments to the Fair

                 Sentencing Act

          Insofar as Moreno Bonilla’s Motion is construed as a

    request for a reduction in sentence under the First Step Act’s

    retroactivity amendments to the Fair Sentencing Act, it must

    be denied.

          “The     authority      of   a   district      court    to   modify    an

    imprisonment sentence is narrowly limited by statute.” United

    States v. Phillips, 597 F.3d 1190, 1194–95 (11th Cir. 2010);

    see also United States v. Diaz-Clark, 292 F.3d 1310, 1317-18

    (11th   Cir.    2002)    (collecting         cases   and     explaining     that

    district courts lack the inherent authority to modify a

    sentence).     The    First    Step    Act    expressly      grants    district

    courts the discretion to reduce a previously imposed sentence

    to reflect modifications to sentencing “as if the modified

    statutory penalties of sections 2 and 3 of the Fair Sentencing

    Act of 2010 [. . .] were in effect at the time the covered

    offense was committed.” First Step Act, Pub. L. No. 115-391

    § 404(b), 132 Stat. 5194, 5222 (2018).

          However,       Moreno   Bonilla      did   not   commit      a   “covered

    offense” within the meaning of the Act because he pled guilty

    to conspiracy to possess with intent to distribute powder

    cocaine, not base or “crack” cocaine. (Doc. # 102 at 1).                     The


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    Fair Sentencing Act raised the threshold quantity of only

    base cocaine, from 50 to 280 grams. Fair Sentencing Act of

    2010 § 2. He is therefore ineligible for relief under the

    First Step Act.

          Accordingly, it is

          ORDERED, ADJUDGED, and DECREED:

          Defendant Juan David Moreno Bonilla’s pro se Motion for

    Compassionate Release (Doc. # 233) is DENIED.

          DONE and ORDERED in Chambers, in Tampa, Florida, this

    2nd day of November, 2021.




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